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                                                                                                                      JS-6
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                                           7
                                                                  UNITED STATE DISTRICT COURT
                                           8                     CENTRAL DISTRICT OF CALIFORNIA
                                           9
                                               TERRY FABRICANT, individually           Case No. 2:19-cv-04659-AB-AS
                                          10
THE LAW OFFICES OF TODD M. FRIEDMAN, PC




                                               and on behalf of all others similarly
                                               situated,                                  CLASS ACTION
                                          11
      WOODLAND HILLS, CA 91367




                                          12   Plaintiff,                                 [PROPOSED] ORDER GRANTING
                                                                                          FINAL APPROVAL OF CLASS
                                          13
                                                      vs.                                 ACTION SETTLEMENT AND
                                          14                                              ENTERING JUDGMENT
                                          15   AMERISAVE MORTGAGE
                                               CORPORATION, and DOES 1                    Assigned to the Honorable Andre’
                                          16   through 10, inclusive, and each of         Birotte,
                                          17   them,
                                                                                          DATE:   NOVEMBER 20, 2020
                                          18   Defendant..                                TIME:    10:00 A.M.
                                          19                                              COURTROOM: 7D

                                          20
                                          21
                                                      Plaintiffs have filed a Motion for an Order Granting Final Approval of
                                          22
                                               Class Action Settlement, Conditionally Certifying Proposed Settlement Class,
                                          23
                                               Approving Motion for Attorneys’ Fees and Costs, and granting Incentive Award
                                          24
                                               (“Motion”). Having reviewed the Motion and supporting materials, the Court
                                          25
                                               determines and orders as follows:
                                          26
                                                      On May 21, 2020 this Court entered an Order Granting Preliminary
                                          27
                                               Approval of Settlement, resulting in certification of the following provisional
                                          28

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                                           1   Settlement Class:
                                           2                “All persons or entities within the United States who
                                           3                received on their cellular telephones communications
                                           4                placed by AMERISAVE using its CCT dialer and/or that
                                           5                were placed to a number on the National Do Not Call list
                                           6                or AMERISAVE’s Internal Do Not Call list between April
                                           7                1, 2018 and December 31, 2019.”
                                           8   Membership in the Settlement Class consists exclusively of individuals
                                           9   provided by Defendants to the Settlement Administrator, as set forth in the
                                          10   Agreement. The Court further approved the form of, and directed the parties to
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                                          11   provide, the proposed Class Notice to the Class, which informed Settlement Class
      WOODLAND HILLS, CA 91367




                                          12   Members of: (a) the proposed Settlement, and the Settlement’s key terms; (b) the
                                          13   date, time, and location of the Final Approval Hearing; (c) the right of any
                                          14   Settlement Class Member to object to the proposed Settlement, and an explanation
                                          15   of the procedures to exercise that right; (d) the right of any Settlement Class
                                          16   Member to exclude themselves from the proposed Settlement; and an explanation
                                          17   of the procedures to exercise that right; and (e) an explanation of the procedures
                                          18   for Settlement Class Members to participate in the proposed Settlement.
                                          19         No objections have been made, timely or otherwise, pursuant to the Class
                                          20   Notice sent to the Settlement Class members, nor did any objectors appear at the
                                          21   time of the hearing.
                                          22         This matter having come before the Court for hearing pursuant to the Order
                                          23   of this Court dated May 21, 2020, for final approval of the settlement set forth in
                                          24   the Settlement Agreement and Release ( “Settlement”), and due and adequate
                                          25   notice having been given to the Settlement Class Members as required in said
                                          26   Order, and the Court having considered all papers filed and proceedings had
                                          27   herein and otherwise being fully informed of the promises and good cause
                                          28   appearing therefore, it is ORDERED, ADJUDGED AND DECREED THAT:

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                                           1    1. This Court has jurisdiction over the subject matter of the Action and over all
                                           2       of the parties to the Action.
                                           3    2. The Court finds that the Settlement Class is properly certified as a class for
                                           4       settlement purposes only.
                                           5    3. The Class Notice provided to the Settlement Class conforms with the
                                           6       requirements of Fed. Rule Civ. Proc. 23, the California and United States
                                           7       Constitutions, and any other applicable law, and constitutes the best notice
                                           8       practicable under the circumstances, by providing individual notice to all
                                           9       Settlement Class Members who could be identified through reasonable
                                          10       effort, and by providing due and adequate notice of the proceedings and of
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                                          11       the matters set forth therein to the other Settlement Class Members. The
      WOODLAND HILLS, CA 91367




                                          12       notice fully satisfied the requirements of Due Process. No Settlement Class
                                          13       Members have objected to the terms of the Settlement.
                                          14    4. Only 206 Settlement Class Members have requested exclusion from the
                                          15       Settlement. They are listed in Exhibit A to this order.
                                          16    5. The Court finds that Defendant properly and timely notified the appropriate
                                          17       government officials of the Settlement Agreement, pursuant to the Class

                                          18       Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715. The Court has

                                          19       reviewed the substance of Defendant’s notice, and finds that it complied
                                                   with all applicable requirements of CAFA. Further, more than ninety (90)
                                          20
                                                   days have elapsed since Defendant provided notice pursuant to CAFA and
                                          21
                                                   the Final Approval Hearing.
                                          22
                                                6. The Court finds the Settlement was entered into in good faith, that the
                                          23
                                                   settlement is fair, reasonable and adequate, and that the Settlement satisfies
                                          24
                                                   the standards and applicable requirements for final approval of this class
                                          25
                                                   action settlement under California law, including the provisions of Fed. Rule
                                          26
                                                   Civ. Proc. 23. The Court finds that the consideration to be paid to members
                                          27       of the Settlement Class is reasonable and in the best interests of the
                                          28

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                                           1       Settlement Class Members considering the disputed facts and circumstances
                                           2       of and affirmative defenses asserted in the Action and the potential risks and
                                           3       likelihood of success of pursuing litigation on the merits.

                                           4    7. The Court finds that the requirements of Rule 23(e)(2) of the Federal
                                                   Rules of Civil Procedure are satisfied with request to the settlement. The
                                           5
                                                   Class representatives and class counsel have adequately represented the
                                           6
                                                   class, as demonstrated by their efforts in certifying the class by contested
                                           7
                                                   motion after significant formal discovery and motion practice. The Court
                                           8
                                                   found that these requirements were satisfied in its May 21, 2020 Order
                                           9
                                                   granting Plaintiffs’ motion for class certification. Dkt. No. 46. Based on
                                          10
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                                                   the record before the Court, The Court is persuaded that these
                                          11
                                                   requirements continue to be satisfied. Further, the settlement was
      WOODLAND HILLS, CA 91367




                                          12       negotiated at arm’s length, with the assistance of experienced mediator
                                          13       Hon. George H. King (ret.), and over the course of several sessions of
                                          14       subsequent negotiations, conducted with the oversight and assistance of
                                          15       Judge King. The Court further finds that the relief provided to the class is
                                          16       adequate, fair and reasonable taking into account the costs, risks and delay
                                          17       of trial and appeal. Defendant articulated several bases upon which it
                                          18       planned to mount a vigorous defense, including contesting certification,
                                          19       contesting plaintiffs’ claims at summary judgment and trial and filing
                                          20       potential appeals. Plaintiffs and Class Counsel adequately and
                                          21       appropriately considered these risks in negotiating a settlement.

                                          22       Additionally, the method of distributing relief to the class, by giving direct
                                                   notice by mail, and creating a pro rata distribution of a common fund
                                          23
                                                   without reversion, is a method of distribution and settlement that is
                                          24
                                                   commonly accepted by courts, including by This Court, as satisfying the
                                          25
                                                   requirements of Rule 23(e)(2). The terms of the proposed award of
                                          26
                                                   attorney’s fees are fair and determined to be fair and reasonable, given the
                                          27
                                                   length of time in litigation, and the results achieved. The timing of
                                          28

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                                           1       payment is fair because fees and costs will be paid out of a common fund,
                                           2       at the same time as the remainder of the class members. Finally, the
                                           3       settlement puts all class members on equal footing, which is appropriate

                                           4       under the facts of this case, which involves the same statutory damages
                                                   awarded to each class member. Accordingly, the Court finds that the
                                           5
                                                   requirements of Rule 23(e)(2) are satisfied.
                                           6
                                                8. The Court has specifically considered the factors relevant to class settlement
                                           7
                                                   approval (see, e.g., Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566 (9th
                                           8
                                                   Cir. 2004))—including, inter alia, the strength of Plaintiff’s case; the risk,
                                           9
                                                   expense, complexity, and likely duration of further litigation; the risk of not
                                          10
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                                                   maintaining class action status throughout trial; the relief provided for in the
                                          11
                                                   settlement; the extent of discovery completed and stage of the proceedings;
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                                          12       the experience and views of counsel; and the reaction of the Settlement
                                          13       Class Members to the proposed settlement (including the claims submitted,
                                          14       the small number of opt-outs, and the lack of objections)—and upon
                                          15       consideration of such factors finds that the Settlement is fair, reasonable, and
                                          16       adequate to all concerned.
                                          17    9. Accordingly, the Settlement is hereby finally approved in all respects, and
                                          18       the Parties are hereby directed to implement and consummate the Settlement
                                          19       Agreement according to its terms and provisions.
                                          20    10.The terms of the Settlement Agreement and of this Final Order, including all
                                          21       exhibits thereto, shall be forever binding in all pending and future lawsuits
                                          22       maintained by the Named Plaintiff and all other Settlement Class Members,
                                          23       as well as their family members, heirs, administrators, successors, and
                                          24       assigns. This Judgment shall not bind those Class members which have
                                          25       opted out of the Settlement. A true and correct copy of the names of Class
                                          26       Members who opted out is attached hereto as Exhibit A.
                                          27
                                          28

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                                           1    11.Upon entry of this Order, compensation to the participating Settlement Class
                                           2       Members shall be effected pursuant to the terms of the Settlement.
                                           3    12.In addition to any recovery that Plaintiffs may receive under the Settlement,
                                           4       and in recognition of the Plaintiffs’ efforts and risks taken on behalf of the
                                           5       Settlement Class, the Court hereby approves the payment of a Service
                                           6       Award to Plaintiffs, in the amount of $5,000 to Plaintiff for his role as a
                                           7       Class Representative.
                                           8    13.The Court approves the payment of attorneys’ fees to Class Counsel in the
                                           9       sum of $1,250,000. The Court finds this amount reasonable: it is about 1.7
                                          10       times the lodestar but only 20% of the settlement fund and therefore less
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                                          11       than the 25% benchmark generally considered reasonable for class action
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                                          12       settlements. The Court also approves the reimbursement of litigation
                                          13       expenses in the sum of $30,061.51.
                                          14    14.The Court approves and orders payment in an amount commensurate with
                                          15       P&N Consulting’s actual costs, and not to exceed $1,550,000.00 to P&N
                                          16       Consulting for performance of its settlement claims administration services.
                                          17    15.Upon the Effective Date, the Plaintiffs and Settlement Class Members,
                                          18       except the excluded individuals referenced in paragraph 4 of this Order,
                                          19       shall have, by operation of this Order and the accompanying Judgment,
                                          20       fully, finally and forever released, relinquished, and discharged Defendant
                                          21       from all claims or liabilities arising from or related to the facts,
                                          22       circumstances or subject matter of this Action, as set forth in the Settlement
                                          23       Agreement. Upon the Effective Date, all Settlement Class Members shall be
                                          24       and are hereby permanently barred and enjoined from the institution or
                                          25       prosecution of any and all Released Claims that are released under the terms
                                          26       of the Settlement. This Lawsuit and all claims of Plaintiffs and the
                                          27       Settlement Class Members are hereby dismissed with prejudice.
                                          28       Furthermore, Plaintiffs and all Settlement Class Members are hereby barred

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                                           1       and permanently enjoined from (a) filing, commencing, prosecuting,
                                           2       intervening in, promoting, or participating (as class members or otherwise)
                                           3       in any lawsuit in any jurisdiction based on or arising out of the claims and
                                           4       causes of action, or the facts and circumstances relating thereto, in this
                                           5       Action; and (b) organizing Settlement Class Members who have not been
                                           6       excluded from the Settlement Class into a separate class for purposes of
                                           7       pursuing as a purported class action any lawsuit (including by seeking to
                                           8       amend a pending complaint to include class allegations, or seeking class
                                           9       certification in a pending action) based on or relating to the claims and
                                          10       causes of action, or the facts and circumstances relating thereto, in this
THE LAW OFFICES OF TODD M. FRIEDMAN, PC




                                          11       Action.
      WOODLAND HILLS, CA 91367




                                          12    16.This Final Order and the Settlement Agreement (including the exhibits
                                          13       thereto) may be filed in any action against or by any Released Party (as that
                                          14       term is defined herein and the Settlement Agreement) to support a defense of
                                          15       res judicata, collateral estoppel, release, good faith settlement, judgment bar
                                          16       or reduction, or any theory of claim preclusion or issue preclusion or similar
                                          17       defense or counterclaim.
                                          18    17.This Order, the Settlement, and any and all negotiations, statements,
                                          19       documents, and/or proceedings in connection with this Settlement are not,
                                          20       and shall not be construed as, an admission by Defendant of any liability or
                                          21       wrongdoing in this or in any other proceeding.
                                          22    18.Upon completion of administration of the Settlement, the Parties shall file a
                                          23       declaration setting forth that claims have been paid and that the terms of the
                                          24       Settlement have been completed.
                                          25    19.This Judgment is intended to be a final disposition of the above captioned
                                          26       action in its entirety and is intended to be immediately appealable.
                                          27    20.This Court shall retain jurisdiction with respect to all matters related to the
                                          28       administration and consummation of the settlement, and any and all claims,

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                     AmeriSave TCPA Settlement – Exclusion Requests
           Terry Fabricant v. AmeriSave Mortgage Corporation, No. 2-19-cv-04659-AB-AS




                              EXHIBIT A




                                               1
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                           AmeriSave TCPA Settlement – Exclusion Requests
               Terry Fabricant v. AmeriSave Mortgage Corporation, No. 2-19-cv-04659-AB-AS


  Below is the list of exclusion requests received by the Settlement Administrator.

      1.    Tom Tracy
      2.    Peter Caruso
      3.    Ronald Davis
      4.    Edward Bloomfield
      5.    Megan Bloomfield
      6.    Matthew Dow
      7.    Francis De St. Aubin
      8.    Andrew Burkholder
      9.    Patricia Clark
      10.   Eric Vanpelt
      11.   Loren Zadecky
      12.   Patricia Tarantino
      13.   Margaret Waltz
      14.   Devi Kc
      15.   Alvin Weaver
      16.   Shawn Martin
      17.   Aryana Sabinath
      18.   Eddie Ackiss
      19.   James Tyson
      20.   Aun Seng
      21.   Toby Simpson
      22.   Albert Cortina
      23.   Ann Hines
      24.   Carl Wannemacher
      25.   Adam Hemmida
      26.   Robert Debock
      27.   Stephanie Higdon
      28.   James Cartwright
      29.   Barbara Ewer Jones
      30.   Mary Augustyniak
      31.   Ernest Hale
      32.   Luther Davis
      33.   Marcos Tijerina
      34.   Dennis Doyle
      35.   Rich Sarsfield
      36.   Miguel Rangel
      37.   Dina Sanchez
      38.   Muhammad Saqib
      39.   Jessica Sergeant
      40.   Jonathan Belden
      41.   Walter Johnson

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                       AmeriSave TCPA Settlement – Exclusion Requests
            Terry Fabricant v. AmeriSave Mortgage Corporation, No. 2-19-cv-04659-AB-AS

    42.   Mark Wyman
    43.   Frank Beiter
    44.   Clyde Gardner
    45.   Paul Collum
    46.   Jay Long
    47.   Carla Ronan
    48.   Louise Brough
    49.   Angela Garcia
    50.   Olena Gordiyenko
    51.   Kamalf Al Dawood
    52.   Anthony Gale
    53.   Elaine Nelson
    54.   Martha Rocha
    55.   Xuejun Zhang
    56.   Roger Mcdermott
    57.   Daniel Glaeser
    58.   Deidra Mcafee
    59.   Lacey Hochleutner
    60.   Joann Rice
    61.   Drew Jensen
    62.   Hargis Miller
    63.   David Giannelli
    64.   David Rainsberger
    65.   Zahir Nuristani
    66.   Claudine Reynolds
    67.   Rosita Taguian
    68.   Samuel Rosete
    69.   Tony Allen
    70.   Andrew Speese
    71.   Darold Benjamin
    72.   Deborah Wilson
    73.   Diane Lee
    74.   Tasha Carra
    75.   Vincenzo Esposito
    76.   Enrique Hernandez
    77.   Elisabeth Winter
    78.   Rashauna Larson
    79.   Ginny Hobbs
    80.   Susan Dyer
    81.   Doveline Borges
    82.   Nicola Gerbino
    83.   Kathy Whitmore
    84.   Allison Mondragon
    85.   Louis Costanza

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                        AmeriSave TCPA Settlement – Exclusion Requests
             Terry Fabricant v. AmeriSave Mortgage Corporation, No. 2-19-cv-04659-AB-AS

    86.    Yosselin Guzman
    87.    George Lee
    88.    Wesley Palmerlasky
    89.    Sunil Bhaskarla
    90.    Karen Slaughter
    91.    Sudhindra Patri
    92.    Cesar Pedrero
    93.    Nicole Newman
    94.    Robert Ellis
    95.    Diana Kelley
    96.    Valerie Aguirre
    97.    Lana Olsson
    98.    George Gubko
    99.    Joshua Hudson
    100.   Deborah Solomon
    101.   Steven Acuff
    102.   Beverly Davis
    103.   Carole Hall
    104.   Rosa Martinez
    105.   Thomas Mikesell
    106.   Robert Pacheco
    107.   Jialong Wu
    108.   Sherri Davis
    109.   Carol Jackson
    110.   Carol Nakatsui
    111.   Dani Saltarelli
    112.   David Peterson
    113.   Amrin Habib
    114.   Yuki Yabushita
    115.   Vaquas Saleem
    116.   April Fisher
    117.   William Terry
    118.   William Terry
    119.   Ryan Penner
    120.   Todd Vandercreek
    121.   Carolyn Sellman
    122.   Eileen Pearson
    123.   Ricardo Robles
    124.   Searra Jones
    125.   Lorrie Blake
    126.   Diana Dascalescu
    127.   Anna Costantini
    128.   Perla Araneta
    129.   Robin Brown

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                         AmeriSave TCPA Settlement – Exclusion Requests
              Terry Fabricant v. AmeriSave Mortgage Corporation, No. 2-19-cv-04659-AB-AS

    130.   Thomas Oneil
    131.   Catheryn Kemp
    132.   Timothy Brown
    133.   Nicholas Bocklet
    134.   Joshua Giuliani
    135.   Ryan Franz
    136.   Patricia Dandrea
    137.   Thomas Morris
    138.   Arginell Anderson
    139.   James Badrian
    140.   Scott Baran
    141.   Debra Boyd
    142.   Kerrie Brooks
    143.   Anna Campbell
    144.   Paula Carra
    145.   Earick Carter
    146.   John Carter
    147.   Susan Casp
    148.   James Cogar
    149.   Willy Collins
    150.   Lawrence Coplin
    151.   Kelvin Cuevas
    152.   Randolph Dandry
    153.   William Debruler
    154.   Patrick Frazier
    155.   Vickie And James Gilley
    156.   Orlando Giron
    157.   Melinda Glover
    158.   Jasmine Green
    159.   James Hammond
    160.   Shelia Holmes
    161.   William James
    162.   Teosha Jarrett
    163.   Sandra Jones
    164.   Carole Keeley
    165.   Robert Kessel
    166.   Karl King
    167.   Janet Lavenger
    168.   Jennifer Mccann
    169.   Kevin Melton
    170.   Cathy Louise Most
    171.   Jeremy Nix
    172.   William O'Neal
    173.   James Patterson

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                        AmeriSave TCPA Settlement – Exclusion Requests
             Terry Fabricant v. AmeriSave Mortgage Corporation, No. 2-19-cv-04659-AB-AS

    174.   Steven Patterson
    175.   Peggy Paynter
    176.   Veronica Preseley
    177.   Vernon Ricks
    178.   Terry Runner
    179.   Rodney Salsman
    180.   Dorothy Sandman
    181.   Samuel Schlosser
    182.   Jacob Shropshier
    183.   David Smith
    184.   Kevin Stewart
    185.   Thomas Strand
    186.   Sally Sylvia
    187.   Sherman Thomas Jr.
    188.   Jennifer Thompson
    189.   Keith Travis
    190.   Bernard Vanderhorst
    191.   Phil West
    192.   Pamela Wiegand
    193.   Michael Wiley
    194.   Robert Winter
    195.   Cathy Witherspoon
    196.   Kathleen A. Flynn
    197.   Melodie Menzer
    198.   Rebecca Starr
    199.   David Parmentier
    200.   Deanna Bolden
    201.   Aaron Amerson
    202.   Annette Ward
    203.   Shane Karjala
    204.   Kerry Meeker
    205.   Lloyd Parker
    206.   Pedro De La Fuente




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